 Case: 4:05-cr-00605-HEA    Doc. #: 63     Filed: 04/12/06   Page: 1 of 10 PageID #:
                                         183


                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                          )
           v.                             )        No. 4:05 CR 605 HEA
                                          )                        DDN
VIRGIL LEE JACKSON,                       )
                                          )
                  Defendant.              )


                          ORDER AND RECOMMENDATION
                     OF UNITED STATES MAGISTRATE JUDGE

       This action is before the Court upon the pretrial motions of the
parties which were referred to the undersigned United States Magistrate
Judge pursuant to 28 U.S.C. § 636(b).          An evidentiary hearing was held
on March 7, 2006.


                    1.   Legal sufficiency of indictment
       Defendant Jackson has moved to dismiss the indictment as legally
insufficient on its face (Doc. 26) and for a bill of particulars (Doc.
31).
       The motion to dismiss the indictment as legally insufficient on its
face is without merit.        To be legally sufficient on its face, the
indictment must contain all the essential elements of each offense
charged, it must fairly inform the defendant of the charges against
which he must defend, and it must allege sufficient information to allow
the defendant to plead a conviction or an acquittal as a bar to a future
prosecution.    U.S. Const. amends. V and VI; Fed. R. Crim. P. 7(c);
Hamling v. United States, 418 U.S. 87, 117 (1974); United States v.
White, 241 F.3d 1015, 1021 (8th Cir. 2001).
       In this case, defendant is charged in one count with being a felon
in possession of a firearm in violation of 18 U.S.C. § 922(g)(1).                “To
obtain a conviction under 18 U.S.C. § 922(g)(1) the government must
‘prove beyond a reasonable doubt that (1) the defendant has previously
been convicted of a crime that was punishable by a term of imprisonment
exceeding one year, (2) the defendant knowingly possessed a firearm, and
 Case: 4:05-cr-00605-HEA   Doc. #: 63     Filed: 04/12/06   Page: 2 of 10 PageID #:
                                        184


(3) the firearm has been in or has affected interstate commerce.’”
United States v. Urick, 431 F.3d 300, 303 (8th Cir. 2005) (quoting
United States v. Moore , 212 F.3d 441, 445 (8th Cir. 2000)).
     In this case, the indictment states that defendant had previously
been convicted of Burglary-2nd Degree in St. Louis County and sentenced
to 10 years imprisonment; he had been convicted of Forcibly Breaking
into a U.S. Post Office to Commit Larceny, and sentenced to five years
in prison; and he had been convicted of Robbery-1st Degree and sentenced
to five years imprisonment.     The indictment charges that defendant on
October   24,   2005,   knowingly   possessed       a   specifically     described
Harrington Richardson Arms Company 5-shot revolver, which had previously
been transported in interstate commerce.          (Doc. 7.)    The indictment is
clearly legally sufficient on its face, as it contains all the elements
of the crime, fairly informs defendant of the charges he must defend and
contains sufficient information upon which he can plead a conviction or
acquittal as a bar to future prosecution.
     The motion for a bill of particulars is without merit.             “A bill of
particulars serves to inform the defendant of the nature of the charge
against him with sufficient precision to enable him to prepare for
trial, to avoid or minimize the danger of surprise at trial, and to
enable him to plead his acquittal or conviction in bar of another
prosecution for the same offense when the indictment is too vague and
indefinite.”    United States v. Hernandez, 299 F.3d 984, 989-90 (8th Cir.
2002).    It is not a discovery tool, and should not be used to obtain
detailed disclosure of the government’s evidence.               United States v.
Wessels, 12 F.3d 746, 750 (8th Cir. 1993).          The court has discretion to
order the government to provide additional details when the indictment
fails to sufficiently inform the defendant of the charges against him
so as to hinder his ability to prepare a defense.               United States v.
Garrett, 797 F.2d 656, 665 (8th Cir. 1986).
     As stated above, the indictment is sufficient to inform defendant
of the charges against him.      It fully sets forth the elements of 18
U.S.C. § 922(g)(1), and provides enough information to allow defendant
to prepare his defense.    Further, any information sought by defendant,
even if not available in the indictment, is included in the affidavit


                                    - 2 -
 Case: 4:05-cr-00605-HEA     Doc. #: 63     Filed: 04/12/06    Page: 3 of 10 PageID #:
                                          185


filed with the original complaint.               (Doc. 2.)       If information is
available from other sources, a bill of particulars is not necessary.
United States v. Stephenson, 924 F.2d 753, 761-62 (8th Cir. 1991)
(government’s “open file” policy and availability of information from
other sources negated need for bill of particulars).


                             2.    Pretrial discovery
     Defendant Jackson has moved for disclosure of the identities of
confidential informants (Doc. 28), 1 for disclosure of the government's
intention to use Rule 404(b) evidence (Doc. 29), for production of the
grand jury record (Doc. 32), and to take a deposition (Doc. 34).
     In response to these motions, the government has established that
it has disclosed to the defendant all investigative information it has
in its file, with the exception of the grand jury record.
     The motion to disclose the grand jury record is without merit,
because   defendant    has   not    shown    a   particularized      need   for   this
discovery.     Federal Rule of Criminal Procedure 6(e)(2) and (3) provide
that the grand jury proceedings are to remain secret, subject to certain
exceptions.     Fed. R. Crim. P. 6(e); In re Grand Jury Investigation , 55
F.3d 350, 353-54 (8th Cir. 1995).             Disclosures of matters occurring
before the grand jury are prohibited unless the defendant can show a
“particularized need” for such disclosure.            United States v. Haire, 103
F.3d 697, 699 (8th Cir. 1996).
     Defendant     here has not shown a particularized need for such
disclosures.    Instead, he offers to brief his particularized need after
receiving the information he seeks.          In other words, defendant concedes
he is unaware of whether or not he has any particularized need at this
time to warrant disclosure of the information.                “These statements show
no ‘particularized need’ for grand jury materials, rather they are but
an expression of a generalized hope by [defendant] that he might find
some defect in the grand jury proceedings. Such ‘fishing expeditions’



     1
      At the hearing on this motion the parties agreed that the issue
of disclosure of any confidential informant is not an issue between the
parties. Therefore, this motion will be denied as moot.

                                       - 3 -
 Case: 4:05-cr-00605-HEA        Doc. #: 63        Filed: 04/12/06     Page: 4 of 10 PageID #:
                                                186


do not provide sufficient grounds for disclosure prior to or at trial.”
Thomas v. United States , 597 F.2d 656, 658 (8th Cir. 1979).
        The   motion   for    leave       to    take   a   deposition     will      be    denied.
Defendant has moved this court to allow him to take the deposition of
Gerald Cox and any confidential informants.
        Defendant has not shown that the witnesses are ones he will call
in his case, nor that there are exceptional circumstances that exist or
that the witnesses’ testimony will be lost before trial.                        Fed. R. Crim.
P. 15(a); United States v. Adcock, 558 F.2d 397, 406 (8th Cir. 1977),
cert.    denied,   434       U.S.    921       (1977).       “To    establish    exceptional
circumstances, the moving party must show the witness's unavailability
and the materiality of the witness's testimony.”                          United States v.
Liner, 435 F.3d 920, 924 (8th Cir. 2006).                  Defendant has made no showing
that any of the witnesses he seeks to depose are going to be unavailable
for trial; in fact, the government plans to call                     at trial the witnesses
he seeks to depose.           (Doc. 56 at 2.)              Since defendant has shown no
exceptional circumstances, his motion is denied.


                       3.     Motion to suppress statements
        Defendant Jackson has moved to suppress statements.                      In the Doc.
35 motion to suppress, defendant states that the information provided
by the government indicates that defendant did not make any statement
to law enforcement after he was arrested.                        (Doc. 35 at 1.)         However,
defendant     argues   that     the       government       has    provided    recordings      of
telephone     conversations         between     him and his wife, Gloria                 Jackson,
between October 25 and 28, 2005.               (Id. at 3.)        Defendant argues that his
statements to his wife during these conversations are privileged under
federal law.     See United States v. Lilley, 581 F.2d 182, 189 (8th Cir.
1978).


                Government's memorandum proffer of facts
        In its memorandum filed in opposition to the motion to suppress
statements,     counsel      for    the    United      States      proffers   the    following
information.     On December 31, 2004, defendant threatened Gerald Cox with
a firearm for telling state court judges that the surety portion of


                                               - 4 -
 Case: 4:05-cr-00605-HEA      Doc. #: 63     Filed: 04/12/06    Page: 5 of 10 PageID #:
                                           187


defendant's     bail bond business was a fraud.                 In January 2005, a
confidential informant ("CI Smith") told the federal Bureau of Alcohol,
Tobacco, Firearms and Explosives that defendant had threatened to kill
Gerald   Cox    because    defendant     believed that Cox told the Missouri
Department of Insurance that the surety portion of defendant's bail bond
business was fraudulent, which would cause defendant to lose his state
bail bonding license.       In late July or early August, 2005, a second ATF
confidential informant ("CI Davis") told the ATF that defendant had
complained about Cox being the cause of his business problems and not
being able to write bail bonds in St. Louis County and St. Charles
County, except for a different bonding company.                (Doc. 60 at 1-3.)
     The government's memorandum also states that on September 28, 2005,
CI Davis made an "ATF-directed" recorded telephone call to defendant
during which defendant made statements.              On October 19, 2005, CI Smith
made an "AFT-directed" recorded telephone call to defendant during which
defendant made statements.         On October 20, 2005, "CI-779045-1074" made
an "ATF-directed” recorded telephone call to defendant to set up an in-
person meeting at a restaurant.           On October 20, 2005, CI Smith met with
defendant at the restaurant wearing an ATF digital recorder.                     After
lunch, defendant and CI Davis drove in Smith's vehicle during which
defendant made statements.         On October 21, 2005, CI Smith made an "ATF-
directed”      telephone    call   to    defendant    during     which   conversation
defendant made statements.              On October 22 and 23, 2005, CI Smith
received telephone calls from defendant during which defendant made
statements.     On October 24, 2005, CI Smith wore an ATF-digital recorder
and transmitter when he met with defendant at the same restaurant as
before and defendant's statements were recorded.                Later on October 24,
CI Smith called defendant on defendant's cell phone and defendant called
CI Smith on his cell phone.         Both calls were recorded.         ( Id. at 3-5.)
     On October 24, 2005, following the calls, with the information
provided by defendant to CI Smith, Smith finds a brown paper bag




                                         - 5 -
 Case: 4:05-cr-00605-HEA     Doc. #: 63     Filed: 04/12/06   Page: 6 of 10 PageID #:
                                          188


containing a firearm and ammunition which he gives to ATF Special Agent
Theodore Heitzler later that day. 2           (Id.)
     The government's memorandum also states that during November and
December 2005, while incarcerated at the St. Francois County Jail,
defendant made statements to fellow inmate Thomas Sunday who disclosed
the statements to federal agents.           At that time, Sunday had not been
acting as a government agent.        (Id. at 6.)        During December 2005 and
January 2006, while incarcerated at the Jennings Jail, defendant spoke
with fellow inmate Vincent Burke, who was                not a government agent.
Burke disclosed these statements to federal agents.              ( Id.)


                                 Hearing record
     From the statements of counsel and the evidence adduced at the
hearing, the undersigned makes the following findings of fact:


                                      FACTS
     1.    Around   September      15,     2005,   Federal    Bureau   of   Alcohol,
Tobacco,   Firearms,   and   Explosives      Special    Agent   Theodore    Heitzler
received information about Virgil Lee Jackson from Amy Russell Cox.
Agent Heitzler had known Ms. Cox since she was eight years of age and
had been a friend of her family for many years.                 Ms. Cox told Agent
Heitzler in a telephone call that Jackson had threatened her father-in-
law, Gerald Cox, regarding his business, Cox Bail Bonds. 3             On September
15, 2005, Agent Heitzler interviewed both Ms. Cox and Gerald Cox.




     2
      At the hearing held on March 7, 2006, counsel for defendant stated
that defendant claimed no possessory or other interest in the firearm
and ammunition, necessary to support a motion to suppress evidence, and
therefore purposely did not file a motion to suppress that physical
evidence.
     3
      During this period of time, Gerald Cox had been in contact with
the Federal Bureau of Investigation. The FBI provided Agent Heitzler
with reports regarding Cox.

                                      - 6 -
 Case: 4:05-cr-00605-HEA         Doc. #: 63     Filed: 04/12/06   Page: 7 of 10 PageID #:
                                              189


        2.        Also on September 15, Agent Heitzler interviewed professional
bail bondsmen Randy Davis 4 and Aaron Smith.               Gerald Cox asked Davis to
come to Cox's office so that Heitzler could interview him.                  Davis stated
that Jackson threatened Cox.
        3.        On September   20, 2005, Agent Heitzler           interviewed     Aaron
Smith.       Again, Gerald Cox asked Smith to come to Cox's office so he
could       be interviewed    by Heitzler.          Again, Smith corroborated the
information about Jackson threatening Cox.
        4.        Davis and Smith cooperated with Heitzler by orally agreeing
to record and to allow the monitoring of his conversations in telephone
calls with Jackson.         No written consent document was used to establish
Smith's or Davis's consent.
        5.        A conversation between Davis and Jackson was recorded with
Davis's agreement on September 28, 2005.               The recording on September 28
was made without the presence of Agent Heitzler.                    On each occasion a
conversation with Jackson was recorded, Davis orally stated his consent
to Agent Heitzler.         On one occasion, Davis wore a recording device on
his body.          However, only greetings between Davis and Jackson were
              5
recorded.
        6.        On October 19, 20, 21, 23, and 24, 2005, Smith recorded
conversations between himself and Jackson.                The conversation on October
20 was recorded by a device worn by Smith on his body.                   The recordings
on October 23 were done on Smith's own, without specific direction by
Agent Heitzler.         On October 24, Smith wore a monitoring and recording
device on his person when he spoke in person with Jackson. 6                  On each of
the other         occasions, before a conversation with Jackson was recorded,
Agent Heitzler asked Smith whether he continued to consent to the




        4
      Davis and Smith had earlier been contacted by the FBI. However,
the FBI did not complete an investigation of the Cox-Jackson matter.
        5
      At the hearing held on March 7, 2006, counsel for the United
States indicated that the government would not offer this recording into
evidence during its case-in-chief at trial.
        6
      On this occasion, the recording device did not operate properly
and none of the conversation was recorded.

                                          - 7 -
 Case: 4:05-cr-00605-HEA   Doc. #: 63     Filed: 04/12/06   Page: 8 of 10 PageID #:
                                        190


monitoring and recording of his conversation with Jackson; each time
Smith gave his consent.
     7.    On October 24, 2005, Agent Heitzler arrested Jackson.


                                 DISCUSSION
     The statements made by defendant, set forth in the government's
memorandum proffer and found by the court in its findings set forth
above, should not be suppressed.
     The statements made by defendant to Gerald Cox, Randy Davis, and
Aaron Smith, were made by defendant when he was not in custody.                 The
initial issue when determining whether to suppress statements of a
defendant is whether they were voluntary and not coerced.              “Voluntary
statements of any kind, not made in response to police interrogation,
are not barred by the Fifth Amendment and their admissibility is
unaffected by Miranda and its progeny.”        United States v. Wood, 545 F.2d
1124, 1127 (8th Cir. 1976).
     There is no indication here that the statements defendant made to
Cox, Smith, and Davis were anything but voluntary.             Defendant was not
in custody.    Therefore, warnings were not required under             Miranda v.
Arizona, 384 U.S. 436 (1966).           He was not in the presence of law
enforcement when he made the statements to Cox, Davis, and Smith, but
instead spoke with them on the telephone or in public places.             There is
no evidence of coercion or overbearing of will.             Colorado v. Connelly,
479 U.S. 157, 169-70 (1986); United States v. Jordan, 150 F.3d 895, 898
(8th Cir. 1998), cert. denied, 526 U.S. 1010 (1999) .
     Further, defendant has no reasonable expectation of privacy in
these conversations.   He has no “constitutionally protected expectation
that a person with whom he is conversing will not then or later reveal
the conversation to the police.”        United States v. White, 401 U.S. 745,
749 (1971); United States v. Corona-Chavez , 328 F.3d 974, 981 (8th Cir.
2003) (“well-established in Fourth Amendment jurisprudence that a person
engaged in a conversation assumes the risk that another party to the
conversation might choose to divulge or even record the conversation.”).
At his own risk, defendant chose to speak with Davis and Smith who




                                    - 8 -
 Case: 4:05-cr-00605-HEA         Doc. #: 63        Filed: 04/12/06    Page: 9 of 10 PageID #:
                                                 191


voluntarily    recorded         his   conversations        and    provided    them   to     law
enforcement.
        Further, the recording of the telephone conversations was not
unlawful.     “Title I of the Electronic Communications Privacy Act of
1986, . . . regulates the interception of wire, oral and electronic
communications.”          Corona-Chavez ,          328   F.3d    at   978.     Recording     of
telephone conversations is not unlawful, if consent to the recording is
given prior to the interception by one member of the conversations.                          Id.
Consent can be either express or implied; when a person voluntarily
participates in a telephone conversation after knowing that it is being
recorded, consent is implied.               Id.      If one party to the conversation
consents, the Fourth Amendment rights of the other party, here, the
defendant, are not violated.               Id.
        Here, both Davis and Smith knew that their conversations with
defendant    were    to    be    recorded,         and   consented     to    the   recording.
Therefore, they expressly consented to the telephone interception.                          Lack
of documentation of their consent does not change this conclusion; they
knew the telephone conversations were being intercepted and participated
in the telephone conversations, at the very least implying consent.
Therefore,    the    recording        of    the     telephone     conversations      was    not
unlawful.
        Similarly, the conversations defendant had with prisoners Sunday
and Burke should not be suppressed.                      While defendant was then in
custody, he was not subjected to law enforcement interrogation.                            Rhode
Island v. Innis, 446 U.S. 291, 301 (1980).                   No evidence indicated that
his statements to his fellow prisoners were involuntary.


        Whereupon,
        IT IS HEREBY ORDERED that the motion of defendant for disclosure
of the identities of confidential informants (Doc. 28) is denied as
moot.
        IT IS FURTHER ORDERED that the motion of defendant for disclosure
of Rule 404(b) evidence is denied.




                                             - 9 -
Case: 4:05-cr-00605-HEA   Doc. #: 63    Filed: 04/12/06   Page: 10 of 10 PageID #:
                                       192


     IT IS FURTHER ORDERED that the motion of defendant for leave to use
additional peremptory challenges (Doc. 30) is deferred to the District
Judge.
     IT IS FURTHER ORDERED that the motion of defendant for a bill of
particulars (Doc. 31) is denied.
     IT IS FURTHER ORDERED that the motion of defendant for production
of the grand jury record (Doc. 32) is denied.
     IT IS FURTHER ORDERED that the motion of defendant to take a
deposition (Doc. 34) is denied.
     IT IS FURTHER ORDERED that the motion of defendant for leave to
file additional and supplemental motions (Doc. 36) is sustained, in that
defendant shall show in any such motion why such motion was not filed
as previously required and shall show what prejudice would result from
the failure of the court to allow the filing of such a motion.
     IT IS HEREBY RECOMMENDED that the motion of defendant to dismiss
the indictment (Doc. 26) be denied.
     IT IS FURTHER RECOMMENDED that the motion of defendant to suppress
statements (Doc. 35) be denied.
     The parties are advised they have ten (10) days to file written
objections to this Order and Recommendation.              The failure to file
objections may result in a waiver of the right to appeal issues of fact.


                          ORDER SETTING TRIAL DATE
     At the direction of District Judge Henry E. Autrey, the jury trial
of this action is set for June 5, 2006, at 9:30 a.m.




                                   DAVID D. NOCE
                                   UNITED STATES MAGISTRATE JUDGE



Signed on April 12, 2006.



                                   - 10 -
